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USAG#2020RG0890/ABJ/KMH

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA Hon. Christine P. O’Hearn
Vv. Crim. No, 24-759
MANSFIELD JOHNSON, 21 U.S.C. §§ 841(a)(1) and “DNS
a/k/a “Money Mike,” (b)(1)(B)-(C)
21 U.S.C. § 846
ARTUS JOHNSON, 18 U.S.C. § 988
afk/a “Tru,” 18 U.S.C. § 924(c)

18 U.S.C. § $22(¢)
MICHAEL MCCRAY,
a/k/a “Gutter,”

SHAMEKE FOWLER,
alk/a “Murder,”

JAMHAL PHILLIPS, and

ALTERIC HINES

SUPERSEDING INDICTMENT
The Grand Jury in and for the District of New Jersey, sitting at Camden,
charges as follows:

COUNT ONE
(Distribution of Fentany])

On or about August 24, 2023, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, a
mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl! )-4-piperidinyl] propenamide (“fentanyl”), a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

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COUNT TWO
(Conspiracy to Distribute and Possess with Intent to Distribute
Over 40 Grams of Fentanyl)

On or about September 18, 2028, in Burlington County, in the District of New

Jersey, and elsewhere, the defendants,

MANSFETELD JOHNSON,
and
MICHAEL MCCRAY,
did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute 40 grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethy)-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT controlled

substance, contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

In violation of Title 21, United States Code, Section 846,

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COUNT THREE
(Conspiracy to Distribute and Possess with Intent to Distribute
Over 40 Grams of Fentanyl)

On or about September 27, 2023, in Burlington County, in the District of New

Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
and
MICHAEL MCCRAY,
did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute 40 grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethy)-4-piperidinyl] propenamide (“fentanyl”), a Schedule I controlled

substance, contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

In violation of Title 21, United States Code, Section 846.

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COUNT FOUR
(Distribution of Over 40 Grams of Fentanyl)

On or about October 18, 2023, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, 40
grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N-[i-(2-phenylethyl )-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

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COUNT FIVE
(Distribution of Over 40 Grams of Fentanyl and Cocaine Base)

On or about November 15, 2028, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,

knowingly and intentionally distributed, and possessed with intent to distribute, 40
grams or more ofa mixture and substance containing a detectable amount of N-
phenyl-N-[1-(2-phenylethyl )-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT
controlled substance, and a mixture and substance containing a detectable amount
of cocaine base, that is “crack cocaine,” a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841{a)(1) and (b)(1)(B).
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COUNT SIX
(Distribution of over 40 Grams of Fentanyl and Cocaine)

On or about December 5, 2023, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,

MANSFIELD JOHNSON,

knowingly and intentionally distributed, and possessed with intent to distribute, 40

grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N-[1-( 2-phenylethy] )-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT
controlled substance, and a mixture and substance containing a detectable amount

of cocaine, a Schedule I] controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).
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COUNT SEVEN
(Distribution of Cocaine)

On or about January 11, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFOELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

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COUNT EIGHT
(Conspiracy to Traffic a Firearm)

On or about January 16, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
ALTERIC HINES,
and
SHAMEKE FOWLER,
did knowingly and intentionally conspire and agree with each other, and others, to
ship, transport, transfer, cause to be transported, and otherwise dispose of any
firearm, that is, a Smith & Wesson, .40 caliber handgun, Model SW40VE, bearing
serial number PDC1344, to another person in and otherwise affecting interstate
and foreign commerce, knowing and having reasonable cause to believe that the
use, carrying, and possession of a firearm by the recipient would constitute a felony,

contrary to Title 18, United States Code, Section 933(a)(1).

In violation of Title 18, United States Code, Section 933(a)(3).

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COUNT NINE
(Distribution of Cocaine and Cocaine Base)

On or about January 16, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, a
mixture and substance containing a detectable amount of cocaine, a Schedule IT
controlled substance, and a detectable amount of cocaine base, that is “crack
cocaine,” a Schedule II controlled substance,

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).
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COUNT TEN
(Distribution of Over 40 Grams of Fentanyl and Cocaine)

On or about January 19, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, 40
grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N-[1-( 2-phenylethy] )-4-pipericinyl] propenamide (“fentanyl”), a Schedule IT
controlled substance, and a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(L)(B).

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COUNT ELEVEN
(Distribution of Over 40 Grams of Fentanyl)

On or about February 6, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, 40
grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N-[1-(2-phenylethy] )-4-piperidinyl] propenamide (“fentanyi”), a Schedule IT
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

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COUNT TWELVE
(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine)

On or about February 21, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
and
ARTUS JOHNSON,

did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance,
contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

In violation of Title 21, United States Code, Section 846.

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COUNT THIRTEEN
(Possession with Intent to Distribute Over 40 Grams of Fentanyl)

On or about February 28, 2024, in Burlington County, in the District of New
Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,
knowingly and intentionally distributed, and possessed with intent to distribute, 40
grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N-[1-(2-phenylethyl )-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)({1)(B).

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COUNT FOURTEEN
(Possession of a Firearm in Furtherance of a Drug Trafficking Offense)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,

did knowingly possess a firearm, that is a Heckler & Koch semi-automatic pistol,
model USP Compact, .45 caliber, S/N 29-035151, in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States, that is,
possession with intent to distribute fentanyl, in violation of 21 U.S.C. §§ 841(a)(1)
and (b)(1)(B), as alleged in Count Thirteen of this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A).

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COUNT FIFTEEN
(Possession with Intent to Distribute Over 500 Grams of Cocaine
and Cocaine Base)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
ARTUS JOHNSON,

knowingly and intentionally distributed, and possessed with intent to distribute,
500 grams or more of a mixture and substance containing a detectable amount
cocaine, a Schedule II controlled substance, and a mixture and substance containing
a detectable amount cocaine base, that is “crack cocaine,” a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

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COUNT SIXTEEN
(Possession of a Firearm in Furtherance of a Drug Trafficking Offense)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
ARTUS JOHNSON,

did knowingly possess a firearm, that is a Beretta semi-automatic pistol, model
Pico, .880 caliber, S/N PC008159, in furtherance of a drug trafficking crime for
which he may be prosecuted in a court of the United States, that is, possession with
intent to distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), as
alleged in Count Fifteen of this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A).

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COUNT SEVENTEEN
(Possession of a Firearm by an Unlawful User of a Controlled Substance)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
JAMHAL PHILLIPS,

knowing he was an unlawful user of and was addicted to a controlled substance, as
defined in 21 U.S.C. § 802, that is, marijuana, a Schedule I controlled substance, did
knowingly possess a firearm, that is a Weihrauch & Weihrauch GmbH & Co.
revolver, model HW-838, .38 special caliber, S/N NO34497, said firearm having been
shipped and transported in interstate and foreign commerce.

In violation of Title 18, United States Code, Section 922(g)(3).

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COUNT EIGHTEEN
(Conspiracy to Distribute and Possess with Intent to Distribute
Over 40 Grams of Fentanyl)

From on or about January 3, 2024, to on or about February 28, 2024, in
. Burlington County, in the District of New Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
and
MICHAEL MCCOY,
did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute 40 grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N-[1-( 2-
phenylethyl)-4-piperidinyl] propenamide (“fentanyl”), a Schedule IT controlled

substance, contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)B).

In violation of Title 21, United States Code, Section 846.

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COUNT NINETEEN
(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine)

From on or about January 3, 2024, to on or about February 28, 2024, in
Burlington County, in the District of New Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
and
ARTUS JOHNSON,
did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance,

contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

In violation of Title 21, United States Code, Section 846.

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COUNT TWENTY
(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine)

From on or about January 3, 2024, to on or about February 28, 2024, in

Burlington County, in the District of New Jersey, and elsewhere, the defendants,
MANSFIELD JOHNSON,
and
ALTERIC HINES,

did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule IT controlled substance,

contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

In violation of Title 21, United States Code, Section 846,

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COUNT TWENTY-ONE
(Conspiracy to Distribute and Possess with Intent to Distribute
Over 28¢ of Cocaine Base)

From on or about January 3, 2024, to on or about February 28, 2024, in
Burlington County, in the District of New Jersey, and elsewhere, the defendants,

MANSFIELD JOHNSON,
and
JAMHAL PHILLIPS,
did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute over 28g of a mixture
and substance containing a detectable amount of cocaine base, that is “crack
cocaine,” a Schedule IT controlled substance, contrary to Title 21, United States

Code, Sections 841(a)(1) and (b){1)(B),

In violation of Title 21, United States Code, Section 846.

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COUNT TWENTY-TWO
(Possession of a Firearm in Furtherance of a Drug Trafficking Offense)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
JAMHAL PHILLIPS,

did knowingly possess a firearm, that is a Weihrauch & Weihrauch GmbH & Co.
revolver, model HW-38, .38 special caliber, S/N NO34497, in furtherance of a drug
trafficking crime for which he may be prosecuted in a court of the United States,
that is, conspiracy to distribute and possess with intent to distribute cocaine base,
that is “crack cocaine,” in violation of 21 U.S.C, § 846, as alleged in Count Twenty-
One of this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A).

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COUNT TWENTY-THREE
(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine)

From on. or about January 3, 2024, to on or about February 28, 2024, in

Burlingten County, in the District of New Jersey, and elsewhere, the defendants,
MANSFIELD JOHNSON,
and
SHAMEKE FOWLER,

did knowingly and intentionally conspire and agree with each other, and other
persons, to distribute and possess with intent to distribute a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance,

contrary to Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

In violation of Title 21, United States Code, Section 846,

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COUNT TWENTY-FOUR
(Possession of a Firearm by a Convicted Felon)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
MANSFIELD JOHNSON,

knowing that he had previously been convicted in a court of a crime punishable by a
term of imprisonment exceeding one year, did knowingly possess a firearm, namely
one Heckler & Koch semi-automatic pistol, model USP Compact, .45 caliber, S/N 29-
035151, which was loaded with 18 rounds of .45 caliber ammunition, and the
firearm was in and affecting commerce.

In violation of Title 18, United States Code, Section 922(g)(1).

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COUNT TWENTY-FIVE
(Possession of a Firearm by a Convicted Felon)

On or about February 28, 2024, in Burlington County, in the District of New

Jersey, and elsewhere, the defendant,
ARTUS JOHNSON,

knowing that he had previously been convicted in a court of a crime punishable by a
term of imprisonment exceeding one year, did knowingly possess a firearm, namely
one Beretta handgun, model Pico, bearing serial number PC008159, .880 caliber,
which was loaded with seven rounds of .380 caliber ammunition, and the firearm
was in and affecting commerce.

In violation of Title 18, United States Code, Section 922(¢)(1).

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FORFEITURE ALLEGATION AS TO COUNTS ONE THROUGH SEVEN,
NINE THROUGH THIRTEEN, FIFTEEN, EIGHTEEN THROUGH
TWENTY-ONE, AND TWENTY-THREE

1. The allegations contained in this Indictment are hereby realleged and
incorporated by reference as though set forth in full herein for the purpose of
alleging forfeiture pursuant to Title 21, United States Code, Section 853.

2, Upon conviction of an offense in violation of Title 21, United States
Code, Sections 841 or 846, as set forth in Counts One through Seven, Nine through
Thirteen, Fifteen, Eighteen through Twenty-One, and Twenty-Three of this
Indictment, the defendants,

MANSFIELD JOHNSON,
ARTUS JOHNSON,

MICHAEL MCCRAY,

SHAMEKE FOWLER,

JAMHAL PHILLIPS,

and
ALTERIC HINES,

shall forfeit to the United States of America, pursuant to Title 21, United States
Code, Section 853, any and all property constituting or derived from any proceeds
obtained directly or indirectly as a result of the commission of the offense, and any

and all property used or intended to be used in any manner or part to commit and to

facilitate the commission of such offense.

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FORFEITURE ALLEGATION AS TO COUNTS EIGHT, FOURTEEN,
SIXTEEN THROUGH SEVENTEEN, TWENTY-TWO, AND TWENTY-FOUR
THROUGH TWENTY-FIVE

1. The allegations contained in this Indictment are hereby realleged and
incorporated by reference as though set forth in full herein for the purpose of
alleging forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and
Title 28, United States Code, Section 2461(c).

2, Upon conviction of the offense in violation of Title 18, United States
Code, Section 922(g)(1), set forth in Counts Eight, Fourteen, Sixteen through
Seventeen, Twenty-Two, and Twenty-Four through Twenty-Five of this Indictment,
the defendants,

MANSFIELD JOHNSON,
ARTUS JOHNSON,
SHAMEKE FOWLER,
JAMHAL PHILLIPS,
and
ALTERIC HINES,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d)(1) and Title 28, United States Code, Section 2461(c), any firearms and
amniunition involved in or used in the commission of the offense, including, but not
limited to, the following:
(a) One Smith & Wesson, .40 caliber handgun, Model SW40VE,
bearing serial number PDC1344;
(b) 11 rounds of .40 caliber ammunition;
(c) One Heckler & Koch semi-automatic pistol, model USP Compact,

.45 caliber, S/N XX-XXXXXXX;

(d) 13 rounds of .45 caliber ammunition;
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(e) One Weihrauch & Weihrauch GmbH & Co. revolver, model HW-38,
.38 special caliber, S/N NO84497;

(f) 6 rounds of .88 special caliber ammunition;

(g) One Beretta handgun, model Pico, bearing serial number
PC008159, .880 caliber; and

(h) Seven rounds of .380 caliber ammunition.

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Substitute Assets Provision
(Applicable to All Forfeiture Allegations)

If any of the property described above, as a result of any act or omission of
the defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property which cannot be divided
without difficulty,
it is the intent of the United States, pursuant to Title 21, United States Code,
Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c), to
seek forfeiture of any other property of the defendant up to the value of the above

forfeitable property.
A TRUE BILL

ZEOREPERSON =~ \

VIKAS KHANNA
Acting United States Attorney

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